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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

v.                                No. 4:14CR00147-03 JLH

MARISOL MARTIKA SUAREZ                                                       DEFENDANT

                                         ORDER

      Pending before the Court is defendant Marisol Martika Suarez’s motion to continue the

sentencing hearing currently scheduled for Tuesday, August 30, 2016. Without objection, the

motion is GRANTED. Document #391. The sentencing hearing will be reset by separate notice.

      IT IS SO ORDERED this 29th day of August, 2016.



                                                _________________________________
                                                J. LEON HOLMES
                                                UNITED STATES DISTRICT JUDGE
